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 8                           UNITED STATES DISTRICT.COURT

 9                          SOUTHERN DISTRICT OF CA~IFORNIA

10                             September 2016 Grand Jury
11   UNITED STATES OF AMERICA,                Case No.                 17 CR 28·16 AJB
12                     Plaintiff,              I   ~   D   li~        T ME N T
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13         v.                                 Title 18, U.S.C., Sec. 371 -
                                              Conspiracy; Title 18, U.S.C.,
14   LUIS EUDORO VALENCIA ( 1) ,              Sec. 545   Smuggling/Importation
     ERIBERTO PANIAGUA (2) /                  Contrary to Law; Title 18, U.S.C.,
15                                            Sec. 2 - Aiding and Abetting; and
                       Defendants.            Title 28, U.S.C., Sec. 2461(c)-
16                                            Forfeiture

17

18        The grand jury charges, at all times relevant:

19                              INTRODUCTORY ALLEGATION
20        1.    The Endangered Species Act ("ESA") provided a legal framework

21   for the protection of endangered or threatened wildlife found within the

22   United States.    The Secretary of the Interior determined which species

23   were endangered under the ESA.
24        2.    All species of tigers,     Panthera tigris,               including the Bengal

25   tiger, Panthera tigris tigris, have been listed as endangered pursuant

26   to the ESA for over thirty years.       50 C.F.R.            §   17.11.
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 1        3.       In order to import an endangered species of wildlife into the

 2   United States,       permission from the U.S.        Fish and Wildlife Service was

 3   required.      16 U.S.C.   §   1538(a) (1) (A); 50 C.F.R. §§ 17.22 and 17.23.

 4                                           Count 1

 5                              Conspiracy - 18 U.S.C.       §   371

 6        4.       Paragraphs   1 through 3 of the         Introductory Allegations are

 7   incorporated herein as if set forth in full.

 8        5.       Beginning at a date unknown to the grand jury, but at least

 9   as early as August 18,         2017,    and continuing up to and including on or

10   about August 23, 2017, within the Southern District of California and

11   elsewhere,         defendants       LUIS EUDORO VALENCIA and ERIBERTO PANIAGUA

12   knowingly and willfully conspired with each other and others known and

13   unknown to the grand jury to commit offenses against the laws of the

14   United States, to wit:

15                 a.     to knowingly and willfully,        with the intent to defraud

16   the United States, smuggle and clandestinely introduce merchandise into

17   the United States which should have been invoiced, that is, a tiger cub,

18   in violation of Title 18, United States Code, Section 545;

19                 b.     to knowingly import into the United States merchandise,

20   that is, a tiger cub, contrary to law, in that the defendants knowingly

21   imported the endangered tiger cub without the permission of the U.S.

22   Fish and Wildlife Service of the Department of the Interior, as required

23   pursuant to Title 16,          United States Code,      Sections 1538 (a) (1) (A)   and

24   1540(b) (1)    and 50 CFR      §§    17.22 and 17.23;   in violation of Title 18,

25   United States Code, Section 545;

26                                           Overt Acts

27        6.       In furtherance of the conspiracy, the following overt act was

28   committed within the Southern District of California and elsewhere:

                                                  2
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 1                    a.     On or about August 23,           2017,    in San Diego, California,

 2   defendant LUIS EUDORO VALENCIA drove a vehicle containing a tiger cub

 3   into the United States from Mexico.

 4                    b.     On or about August 23,           2017,    in San Diego, California,

 5   defendant ERIBERTO PANIAGUA told border inspectors that the tiger cub
 6   was merely a cat.

 7 All in violation of Title 18, United States Code, Section 371.

 8                                               Count 2

 9                                Smuggling - 18 U.S.C.           §   545

10          7.        On or about August 23, 2017, within the Southern District of
11   California,           defendants   LUIS    EUDORO       VALENCIA       and   ERIBERTO   PANIAGUA

12   knowingly and willfully, with the intent to defraud the United States,

13   smuggled and clandestinely introduced into the United States merchandise
14   which should have been invoiced, that is, a tiger cubi in violation of

15   Title 18, United States Code, Sections 545 and 2.

16                                               Count 3

17                    Importation Contrary to Law - 18 U.S.C.                 §   545

18          8.    Paragraphs      1   through 3 of          the   Introductory Allegations        are
19   incorporated as if set forth in full herein.

20          9.        On or about August 23, 2017, within the Southern District of

21   California,           defendants    LUIS   EUDORO       VALENCIA       and   ERIBERTO   PANIAGUA

22   knowingly imported merchandise into the United States, that is, a tiger

23   cub,   contrary to law,            in that the defendants knowingly imported the
24   endangered tiger cub without the permission of the U.S. Fish and Wildlife

25   Service of            the Department of     the       Interior,    as   required pursuant     to
26   Title 16, United States Code, Sections 1538(a) (1) (A) and 1540(b) (1) and

27   50 CFR      §§   17.22 and 17.23.
28   All in violation of Title 18, United States Code, Sections 545 and 2.
                                                       3
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 1                                    FORFEITURE ALLEGATION

 2         10.   Upon conviction of one or more of the offenses alleged in
 3   Counts   1 3 of   this    Indictment,       defendants   LUIS   EUDORO VALENCIA and

 4   ERIBERTO    PANIAGUA,    shall    forfeit    to   the United States,    pursuant   to

 5   Title 18, United States Code, Section 545, and Title 28, United States

 6   Code, Section 246l(c), all merchandise which should have been invoiced

 7   and all merchandise brought into the United States contrary to law,

 8   including but not limited to a Bengal tiger cub.

 9   All pursuant to Title 18, United States Code, Section 545, and Title 28,
10   United States Code, Section 246l(c).

11         DATED: September 15, 2017.

12                                                      A TRUE BILL:

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                                                        Fo%erson
14

15   ALANA W. ROBINSON
     Acting United States Attorney
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     By:
           MEL   Jif~
                 I~~SON
           Assistant U.S. Attorney
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